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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               PADUCAH DIVISION
                             CASE NO. 5:18‐CV‐83‐TBR

VARINA FALKNER-DOSS                                                            PLAINTIFF

V.

M.B.T. TRANSPORT, INC.
and
PAUL WARZOCHA                                                              DEFENDANTS


                                         ORDER

         A telephonic conference was held on May 14, 2020.

         Appearances:
         For the plaintiff:         Scott A. Wallitsch
         For the defendant:         Harlan E. Judd, III

         IT IS ORDERED.
         Due to the settlement conference currently set with Magistrate Judge Lanny King,
the final pretrial conference set on September 25, 2020 and the jury trial set on October
13, 2020 are VACATED/CANCELLED. Pretrial filing deadlines are vacated.
         A telephonic status/scheduling conference to schedule a trial date is set on
July 23, 2020 at 9:00 a.m. Central Time with the undersigned. The Court shall place
the call.
         If the case should settle, the Court will cancel the telephonic conference.




cc:      Counsel
  P|05

                                                   May 23, 2020
